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  Message

  From:          Jonathan Nagao [jgnagao@google.com]
  Sent:          12/9/2020 2:32:0BAM
  To:            Jamie Rosenberg [jamiero@google.com]


  •       Jonathan Nagao,2020-12-08 18:32:08
  Hi Jamie, sorry to ping late in the day. I just wanted to make sure you knew that the Play OHS requirement has
  been removed from KDDI RSA 3 and all the docs are now uploaded to Simba for your approval.
  •       Jonathan Nagao, 2020-12-08 18: 33: 43
  If you can approved those right away, that will allow us to ask KDDI to get their execs today, which we need in
  order for us to close this out before the end of the year.
  •         Jonathan Nagao, 2020-12-08 18: 33:44
  Many thanks.
  •         JamieRosenberg,2020-12-08 18:34:35
  OK, thanks Jonathan. 1&#39;11 take a look now
  •      Jonathan Nagao, 2020-12-08 18: 35: 15
  Thanks, Jamie. Much appreciated.
  •         Jamie Rosenberg, 2020-12-08 18: 38:15
  Sorry, one more question. What does the Play default requirement actually mean? I will ask this question on the
  email thread as well
  •         Jamie Rosenberg,2020-12-08 18:42:05
  actually, i&#39;m first going to ask Anna privately -- I&#39;m trying to understand what it means technical ly,
  how it&#39;s different from MADA and why we need it in there.
  •         Jonathan Nagao,2020-12-08 18:48:10
  I&#39;m also discussing with Kaori




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